                Case 3:16-cv-05794-RBL Document 124 Filed 02/26/18 Page 1 of 15




 1                                                THE HONORABLE RONALD B. LEIGHTON
 2

 3

 4

 5

 6
                                  UNITED STATES DISTRICT COURT
 7                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
 8

 9
          MONIQUE CHARLENE TILLMAN and
          ERIC BRANCH,
10                                                    NO. 3:16-cv-05794-RBL
                           Plaintiffs,
11                                                    DEFENDANTS’ TRIAL BRIEF
               vs.
12
          JARED WILLIAMS and THE CITY OF              Prehearing Conference:
13        TACOMA,                                     March 2, 2018, at 8:30 a.m.
14
                           Defendants.
15

16
               This case is presently set for an eight (8) day jury trial, scheduled to begin on
17
     March 12, 2018. The prehearing conference is set for March 2, 2018, at 8:30 a.m., and
18
     an evidentiary hearing on the admissibility of Stan Kephart’s testimony is set for March
19
     2, 2018, at 11:00 a.m.
20

21
     I.        Plaintiffs are attempting to pursue claims at trial that were not pled.

22             As the pretrial order makes clear, the parties have a dispute as to the claims

23   plaintiffs can pursue at trial. Plaintiffs have included in the pretrial order a number of

24   claims that were not pled in this matter.

25
                                                                                Tacoma City Attorney
          Defendant’s Trial Brief- Page 1 of 13                                    Civil Division
                                                                            747 Market Street, Room 1120
                                                                              Tacoma, WA 98402-3767
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             Monique Tillman first filed this case in the Pierce County Superior Court on May
 1
     6, 2016, alleging state law causes of action only. Dkt. 1, p. 2. See also Dkt. 2, p. 9.
 2

 3   The original complaint was never served on any defendant.

 4            On August 31, 2016, plaintiffs’ First Amended Complaint was filed in the

 5   Superior Court. In this complaint, plaintiff Eric Branch joined the litigation. Also, the First

 6   Amended Complaint included, for the first time, a federal claim (Cause XII- §1983 claim
 7   against Defendant Williams for excessive force; and Cause XIII and XIV- §1983
 8
     Municipal Liability Claim against City of Tacoma and Chief Ramsdell based on the
 9
     alleged deprivation of Monique Tillman’s constitutional rights). Dkt. 2, p. 40-41.
10
             After the defendants were served, and before the matter was removed to federal
11
     court, plaintiffs filed a Second Amended Complaint pursuant to a stipulation executed
12
     by the parties. Dkt. 2, p. 60. The Second Amended Complaint corrected the names of
13
     the Mall defendants, and some grammatical corrections, but did not contain any
14

15
     substantive changes. See email correspondence attached hereto. See also Dkt. 2, p.

16   65. Notably, the federal causes of action did not change from the First Amended

17   Complaint.

18           During the pendency of this litigation, plaintiffs sought leave to amend the

19   complaint one more time, in order to add §1983 claims against the Mall defendants.
20
     See Dkt. 30. Plaintiff’s motion for leave to file a third amended complaint did not seek
21
     to modify the claims against the Tacoma defendants in any way. Id. The Court denied
22
     plaintiffs’ motion for leave to amend. Dkt. 50.
23
             Plaintiffs have never, during the pendency of this matter, sought leave to amend
24
     the complaint to assert additional claims against the Tacoma defendants.
25
                                                                                  Tacoma City Attorney
        Defendant’s Trial Brief- Page 2 of 13                                        Civil Division
                                                                              747 Market Street, Room 1120
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              In the pretrial order, both plaintiffs have indicated that they intend to pursue
 1
     §1983 claims against Officer Williams for an unlawful seizure/false arrest. Neither of
 2

 3   these claims are included in the Second Amended Complaint and in fact, in the

 4   operative complaint, Mr. Branch has not asserted any §1983 claims.

 5            In the Second Amended Complaint, the following claims were asserted and

 6   remain to be addressed by the jury:
 7            No.               Cause                        Parties
 8
              VII               Assault                      Tillman v. Williams
 9
              VII               Assault                      Branch v. Williams
10
              VIII              Battery                      Tillman v. Williams
11
              X                 False                        Tillman v. Williams
12                              Imprisonment                 Branch v. Williams

13            XI                Malicious                    Tillman v. Williams
                                Prosecution
14

15
              XII               §1983 -                      Tillman v. Williams
                                Excessive Force
16
              XIII              §1983 -                     Tillman v. City of Tacoma
17                              Failure to Train, Supervise & Discipline1

18            XIV               §1983 -                      Tillman v. City of Tacoma
                                Ratification
19
              The defendants would be grossly prejudiced if plaintiffs were permitted to present
20
     §1983 claims to the jury that were never pled in the complaint. The discovery that the
21

22   defendants pursued was governed by the claims pending in this matter. Moreover, the

23   defendants brought a dispositive motion on all claims, but their motion for summary

24

25
     1As discussed below, by failing to address these claims on summary judgment, plaintiff abandoned these
     claims and should not be permitted to pursue them at trial.
                                                                                        Tacoma City Attorney
         Defendant’s Trial Brief- Page 3 of 13                                             Civil Division
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     judgment did not address a §1983 unlawful seizure claim for either plaintiff as such
 1
     claims were not in the complaint. Consequently, Officer Williams did not assert qualified
 2

 3   immunity to such a claim and was deprived of having his defense of immunity addressed

 4   by the court. Moreover, even if the court had denied summary judgment on the basis of

 5   qualified immunity, there are no material questions of fact on the underlying basis for

 6   the stop and Officer Williams would have been entitled to seek interlocutory review of
 7   the denial of qualified immunity on those claims. Finally, the assertion of additional
 8
     constitutional claims against Officer Williams subjects him to potential punitive damages
 9
     on additional bases, bases on which he could have sought summary judgment, but was
10
     never given an opportunity to do so.
11
             Officer Williams acknowledges that there is a liberal pleading standard and that
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     so long as notice is given, the standard is met. In this case, however, fair notice was not
13
     given. While federal pleading standards are not exacting, the Rules do place some onus
14

15
     on the plaintiffs. “Plaintiffs must identify each legal theory in separate Counts of their

16   Complaint, Plaintiffs must not simply list constitutional violations with no explanation.

17   Plaintiffs must connect each legal theory to the actions giving rise to that legal theory

18   and Plaintiffs must give the individual Defendants . . . notice of their conduct giving rise

19   to such a claim.” Bryant v. City of Goodyear, 2013 U.S. Dist. LEXIS 64306, 2013 WL
20
     1897129, at * 12 (D. Ariz. May 6, 2013).
21
             [W]hile inexpert pleading is permitting, insufficient pleading is not. A
22           pleading is insufficient when it does not give the opposing party fair notice
             of what the claim is and the ground upon which it rests. A party who does
23           not plead a cause of action or theory of recovery cannot finesse the issue
             by later inserting the theory into trial briefs and contending it was in the
24           case all along.

25
                                                                                Tacoma City Attorney
        Defendant’s Trial Brief- Page 4 of 13                                      Civil Division
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     Evergreen Moneysourse Mortg. Co. v. Shannon, 167 Wn. App. 242, 246, 274 P.3d 375
 1
     (2012).
 2

 3          In addition to asserting claims not previously pled, plaintiffs are also attempting

 4   to pursue claims at trial that were abandoned on summary judgment. In the Second

 5   Amended Complaint, Monique Tillman brought a §1983 claim against the City of

 6   Tacoma for an alleged failure to train, investigate and supervise. See Dkt. 1-1, Cause
 7   XIII. As outlined above, the defendants sought summary judgment on all claims,
 8
     including the municipal liability claim for the alleged failure to train, investigate and
 9
     supervise. See Dkt. 56, p. 20-23. In response to the defendants’ motion, plaintiff did not
10
     address the §1983 municipal liability claims based on the failure to train, investigate or
11
     supervise. See Dkt. 86. Under the standards articulated by the Supreme Court,
12
     plaintiff’s failure to address these claims on summary judgment and adduce evidence
13
     to establish her prima facie case constitutes an abandonment of these claims. See
14

15
     Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S.Ct. 2548, 2553, 91 L.Ed.2d 265

16   (1986)(one of the principal purposes of summary judgment is to dispose of factually and

17   legally unsupported claims and defenses); Anderson v. Liberty Lobby, Inc., 477 U.S.

18   242, 252, 106 S.Ct. 2505, 2512, 91 L.Ed.2d 202 (1986)(issue to be resolved on

19   summary judgment is “whether there is any upon which a jury can properly proceed to
20
     find a verdict for the party producing it, upon whom the [burden] of proof is imposed.”).
21
     If the defendant brings a properly supported motion for summary judgment (which the
22
     defendant can do by simply pointing out the absence of evidence to establish plaintiff’s
23
     prima facie case), the plaintiff must adduce evidence to establish all essential elements
24
     of their claim. Celotex, 477 U.S. at 322-23. If plaintiff does not do so, the court must
25
                                                                               Tacoma City Attorney
       Defendant’s Trial Brief- Page 5 of 13                                      Civil Division
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     grant the motion. Id. “In such a situation, there can be ‘no genuine issue as to any
 1
     material fact,’ since a complete failure of proof concerning an essential element of the
 2

 3   nonmoving party’s case necessarily renders all other facts immaterial.” Id.

 4              Plaintiff Tillman abandoned her §1983 claims against the City for an alleged

 5   failure to train, investigate and supervise. She failed to identify the basis for these claims

 6   during discovery and failed to adduce evidence in support of these claims in response
 7   to summary judgment. She should not be permitted to pursue these claims at trial.
 8
     II.        The Law Governing Plaintiffs’ Claims
 9
                A.       Fourth Amendment excessive force claim against Officer Williams.
10
                Monique Tillman’s claim of excessive force is governed by the Fourth
11
     Amendment’s objective reasonableness standard. Fourth Amendment jurisprudence
12
     has long recognized that the right to make an arrest necessarily carries with it the right
13
     to use some degree of physical coercion or threat of coercion to effect it. Graham v.
14
     Connor, 490 U.S. 386, 388, 396, 109 S. Ct. 1865, 104 L. Ed. 2d 443 (1989). The ultimate
15

16   "reasonableness" inquiry in an excessive force case is "whether the officers' actions are

17   'objectively reasonable' in light of the facts and circumstances confronting him, without

18   regard to their underlying intent or motivation." Graham, 490 U.S. at 397.

19              To determine whether the force used was reasonable under the circumstances,
20
     the jury will be asked to balance "'the nature and quality of the intrusion on the
21
     individual's          Fourth        Amendment   interests   against    the       countervailing
22
     governmental interests at stake.'" Davis v. City of Las Vegas, 478 F.3d 1048, 1054 (9th
23
     Cir. 2007) (internal citations omitted). In performing this calculus, the jury must "assess
24
     the quantum of force used" and then "measure the governmental interests at stake" by
25
                                                                                  Tacoma City Attorney
           Defendant’s Trial Brief- Page 6 of 13                                     Civil Division
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     considering: "[1] the severity of the crime at issue, [2] whether the suspect poses an
 1
     immediate threat to the safety of the officers or others, and [3] whether he is actively
 2

 3   resisting arrest or attempting to evade arrest by flight." Davis, 478 F.3d at 1054 (citing

 4   Graham, 490 U.S. at 396).

 5           The analysis is not limited, however, to the Graham factors. "Because the test of

 6   reasonableness under the Fourth Amendment is not capable of precise definition or
 7   mechanical application, the reasonableness of a seizure must instead be assessed
 8
     carefully considering the objective facts and circumstances that confronted the arresting
 9
     officers." Smith v. City of Hemet, 394 F.3d 689, 701 (9th Cir. 2005) (internal quotations
10
     and citations omitted). In applying this standard, the courts have repeatedly admonished
11
     that “[t]he ‘reasonableness’ of a particular use of force must be judged from the
12
     perspective of a reasonable officer on the scene, rather than with the 20/20 vision of
13
     hindsight.” Graham, 490 U.S. at 396. “The calculus of reasonableness must embody
14

15
     allowance for the fact that police officers are often forced to make split second

16   judgments in circumstances that are tense, uncertain, and rapidly evolving – about the

17   amount of force that is necessary in a particular situation.” Id. at 396-97. Further, officers

18   are not required to use the least intrusive means when responding to exigent

19   circumstances; they only need to act within the range of reasonable conduct. Scott v.
20
     Henrich, 39 F.3d 912, 915 (9th Cir. 1994). Finally, a mistaken belief as to the amount of
21
     force necessary in any given situation does not render the force used unconstitutional,
22
     provided the belief was reasonable. Saucier v. Katz, 533 U.S. 194, 205, 121 S. Ct. 2151,
23
     2158, 150 L. Ed. 2d 272 (2001).
24
             B.         Plaintiff’s §1983 claim against the City.
25
                                                                                  Tacoma City Attorney
        Defendant’s Trial Brief- Page 7 of 13                                        Civil Division
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             A municipality can be held liable under 42 U.S.C. §1983 only when an official
 1
     policy, practice or custom causes the constitutional violation claimed. Monell v. Dept. of
 2

 3   Social Serv. of New York, 436 U.S. 658, 694, 98 S. Ct. 2018, 56 L.Ed.2d 611(1978);

 4   Bryan County v. Brown, 520 U.S. 397, 117 S.Ct. 1382, 137 L.Ed.2d 626 (1997). In the

 5   instant case, Monique Tillman is basing her municipal liability claim on a theory of

 6   ratification.
 7           Municipal liability under this theory attaches only when the policymaker
 8
     possesses final authority to establish municipal policy with respect to the action ordered,
 9
     when the policymaker makes a deliberate choice from among various alternatives to
10
     follow a particular course of action, and when the policymaker approves the
11
     subordinate’s decision and the basis for it. Gillette v. Delmore, 979 F.2d 1342, 1348
12
     (9th Cir. 1992). The ratifying decision must be one that is the product of a “conscious,
13
     affirmative choice” to ratify the conduct in question. Haugen v. Brosseau, 339 F.3d 857,
14

15
     875 (9th Cir. 2003) (opinion amended and judgment vacated on other grounds)(citing

16   Gillette, 979 F.2d at1347.) A single decision of a police department not to discipline in

17   a specific instance is not an adequate basis for municipal liability. Haugen, 339 F.3d at

18   875. See also Weisbuch v. County of Los Angeles, 119 F.3d 778, 781 (9th Cir. 1997)

19   (to hold cities liable under § 1983 whenever policymakers fail to overrule the
20
     unconstitutional discretionary acts of subordinates would simply smuggle respondeat
21
     superior liability into § 1983 liability).
22

23

24

25
                                                                               Tacoma City Attorney
        Defendant’s Trial Brief- Page 8 of 13                                     Civil Division
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     Similarly, merely affirming a finding that a particular use of force was "within policy" does
 1
     not constitute ratification. See Dunklin v. Mallinger, 2013 U.S. Dist. LEXIS 51871, *94-
 2

 3   95 (N.D. Cal. 2013). [attach case to brief]

 4           The law does not say that, whenever an investigative group accepts an officer's
             version over a victim's differing version, this acceptance establishes a policy for
 5           which a municipality may be held liable under § 1983. If that were the law,
             counties might as well never conduct internal investigations and might as well
 6           always admit liability. But that is not the law. The law clearly requires “something
             more.”
 7
     Kanae v. Hodson, 294 F. Supp. 2d 1179, 1188 (D. Hawaii 2003).
 8

 9
        C.       Assault & Battery

10           In civil tort law, the gist of an action for assault is “the victim’s apprehension of

11   imminent physical violence caused by the perpetrator’s action or threat.” (emphasis

12   added) Brower v. Ackerly, 88 Wn. App. 87, 92, 943 P.2d 1141 (1997), rev. denied, 134

13   Wn.2d 1021 (1998). Washington courts define a civil action for battery as “the intentional
14
     infliction of a harmful bodily contact with the plaintiff.” Morinaga v. Vue, 85 Wn. App.
15
     822, 834, 935 P.2d 637, rev. denied, 133 Wn.2d 1012 (1997). The civil definition of
16
     battery does not include “an offensive contact,” only a “harmful contact.” A police officer,
17
     in performing his or her official duties, is liable for assault and battery only if
18
     unnecessary violence or excessive force is used in discharging their duties. Boyles v.
19
     City of Kennewick, 62 Wn. App. 174, 813 P.2d 178 (1991), review denied, 118 Wn.2d
20
     1006, 822 P.2d 288 (1991).
21

22      D.       False Arrest

23           “The gist of an action for false arrest or false imprisonment is the unlawful

24   violation of a person’s right of personal liberty or the restraint of that person without legal

25   authority.” Turngren v. King County, 104 Wn.2d 293, 303, 705 P.2d 258 (1985).
                                                                                  Tacoma City Attorney
        Defendant’s Trial Brief- Page 9 of 13                                        Civil Division
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                Officers enjoy a qualified immunity against liability for false arrest and
 1
     imprisonment. For an arrest accomplished without a warrant, the immunity is limited to
 2

 3   situations where the officer reasonably believed the arrested party committed a felony

 4   or to misdemeanor arrests where the arresting officer had reasonable cause to believe

 5   the crime was being committed in his presence2 and he acted in good faith on that

 6   belief. Staats v. Brown, 139 Wn.2d 757, 778, 991 P.2d 615 (2000) (citing Plancich v.
 7   Williamson, 57 Wn.2d 367, 357 P.2d 693 (1960); Sennett v. Zimmerman, 50 Wn.2d
 8
     649, 651, 314 P.2d 414 (1957)). The existence of probable cause (a complete defense
 9
     to a claim of false arrest/imprisonment) is proved by demonstrating the officer's
10
     knowledge of facts and circumstances that would lead a reasonable officer to believe a
11
     crime has been committed. Bishop v. City of Spokane, 142 Wn. App. 165, 170, 173
12
     P.3d 318 (2007).
13
           E.      Malicious Prosecution
14

15
                In order to maintain an action for malicious prosecution in Washington, a plaintiff

16   must plead and prove the following elements: (1) that the prosecution claimed to have

17   been malicious was instituted or continued by the defendant; (2) that there was want of

18   probable cause for the institution or continuation of the prosecution; (3) that the

19   proceedings were instituted or continued through malice; (4) that the proceedings
20
     terminated on the merits in favor of the plaintiff, or were abandoned; and (5) that the
21
     plaintiff suffered injury or damage as a result of the prosecution. Although all elements
22
     must be proved, malice and want of probable cause constitute the gist of a malicious
23
     prosecution action. Hanson v. Snohomish, 121 Wn.2d 552, 557-58, 852 P.2d 295, 298
24

25
     2   Trespass is actually an exception to the misdemeanor presence rule. See RCW 10.31.100(2).
                                                                                       Tacoma City Attorney
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     (1993). Probable cause is a complete defense to a malicious prosecution claim.
 1
     Peasley v. Puget Sound Tug & Barge Co., 13 Wn.2d 485, 499, 125 P.2d 681 (1942)
 2

 3   (also noting, however, that the dismissal of criminal charges may establish a prima facie

 4   case that there was no probable cause).

 5               The method of determining probable cause or the lack thereof is set out in

 6   Peasley as follows: “If it clearly appears that the defendant, before instituting criminal
 7   proceedings against the plaintiff, made to the prosecuting attorney a full and fair
 8
     disclosure, in good faith, of all the material facts known to him, and that the prosecuting
 9
     attorney thereupon preferred a criminal charge and caused the arrest of the accused,
10
     probable cause is thereby established as a matter of law and operates as a complete
11
     defense to a subsequent action by the accused. And the same rule prevails where such
12
     disclosure was made to a competent practicing attorney, and the criminal prosecution
13
     was instituted upon his advice.” Peasley, 13 Wn.2d at 499-50; see also Bender v.
14

15
     Seattle, 99 Wn.2d 582, 593-95, 664 P.2d 492, 500-01 (1983).

16   III.        Evidentiary Issues

17               The court has ruled on the parties’ motions in limine. An evidentiary hearing is

18   scheduled for March 2, 2018, at 11:00 am to address defendants’ motion in limine to

19   exclude the testimony of Stan Kephart.
20
     IV.         Scheduling Issues
21
                 There are a number of expert witnesses expected to testify in this matter. Dr.
22
     Vandenbelt and Dr. Chong are scheduled to testify the second week of trial and the
23
     defendants may be asking to take these witnesses out of order, if necessary.
24
     Additionally, Chief Ramsdell is available the first week of trial, but is unavailable the
25
                                                                                 Tacoma City Attorney
            Defendant’s Trial Brief- Page 11 of 13                                  Civil Division
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     second week of trial. Another member of the command staff (likely Assistant Chief Ed
 1
     Wade) will be attending trial during the second week in the Chief’s place.
 2

 3          DATED this 26th day of February, 2018.

 4                                              ELIZABETH A. PAULI, City Attorney

 5

 6                                              By:   /s/ Jean Homan
                                                      JEAN P. HOMAN
 7                                                    WSB #27084
                                                      Deputy City Attorney
 8
                                                      Attorney for Defendants
 9

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                                                                                     Tacoma City Attorney
       Defendant’s Trial Brief- Page 12 of 13                                           Civil Division
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                                         DECLARATION OF SERVICE
 1
             I hereby certify that on February 26, 2018, I electronically filed the foregoing with
 2

 3   the Clerk of the Court using the CM/ECF system and will send a true and correct copy

 4   of notification of such filing to the following:

 5
     Plaintiffs’ Counsel
 6   Vito de la Cruz,
     Tamaki Law Firm
 7   2200 112th Avenue NE, Suite 200
     Bellevue, WA 98004
 8   vito@tamakilaw.com
 9
     Plaintiffs’ Co-Counsel
10
     Richard H. Friedman                         Sean J. Gamble
     Friedman | Rubin                            Friedman | Rubin
11   1126 Highland Avenue                        51 University Street, Suite 201
     Bremerton, WA 98337                         Seattle, WA 98101
12   rfriedman@friedmanrubin.com                 sgamble@friedmanrubin.com

13           DATED this 26th day of February, 2018, at Tacoma, Washington.
14
                                                 /s/ Staci Black
15
                                                 Staci Black, Paralegal
16
                                                 Tacoma City Attorney’s Office
                                                 747 Market Street, Suite 1120
17                                               Tacoma, WA 98402
                                                 (253) 591-5268
18                                               Fax: (253) 591-5755
                                                 sblack@ci.tacoma.wa.us
19

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                                                                                        Tacoma City Attorney
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                                                   EXHIBIT 1
        Case 3:16-cv-05794-RBL Document 124 Filed 02/26/18 Page 15 of 15


From:               Chetana Williamson
To:                 Geoffrey Grindeland; Castro, Gisel (Legal); Hunter Jeffers; Homan, Jean (Legal); Karrie Fielder; Black, Staci
                    (Legal); vito@tamakilaw.com
Subject:            Tillman v. Williams, et al.: Proposed Second Amended Complaint
Date:               Wednesday, September 14, 2016 10:07:06 AM
Attachments:        Second_Amended_Complaint_VRC_edits_final.doc
Importance:         High


Dear Counsel:

Attached for your review is Plaintiffs’ Second Amended Complaint as we intend to file with the court.
The Second amended complaint identifies Simon Property and Universal Protection by the correct
names as provided by Defendants. Additionally, we made some technical, grammatical corrections
that did not result in any substantive changes.

Please advise by 4pm September 15, 2016 if Defendants are willing to stipulate to its filing in the
current form. Thank you.

Sincerely,

Chetana Williamson
Paralegal
TAMAKI LAW OFFICES
425-679-6421

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